AO 91 (Rev. 5/85 Criminal Com laint
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                                       United States District Court
                                                                                                          APR - 6 2010
                                             NORTHERN DISTRICT OF GEORGIA


UNITED STATES OF AMERICA
                          v.                                                       CRIMINAL COMPLAINT

JUAN FRANCISCO MALDONADO                                                  CASE NUMBER: 4:10-MJ-023




  (Name and Address of Defendant)




I, the undersigned complainant being duly sworn state the following is true and correct to the best of my knowledge and belief. On
or about August 15,2009, in Polk County, in the Northern District of Georgia defendant(s) did,

knowingly possess with the intent to distribute, methamphetamine, a controlled substance,




in violation of Title 21 United States Code, Section(s) 841[a)(I).

I further state that I am a Special Agent and that this complaint is based on the following facts:

PLEASE SEE ATTACHED AFFIDAVIT




Continued on the attached sheet and made a part hereof.                    (X) Yes () No




Based upon this complaint, this Court finds that there is probable cause to believe that an offense has been committed and that
the defendant has committed it. Sworn to before me, a~ld subscribed in my presence


 ~A~p~riLI6~,~2~0~1~0   ___________________________ &             Rome, Georgia
  Date                                                            City and State            J
  Walter E. Johnson
  United States Magistrate Judge
                                                                     .~
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                 AFFIDAVIT IN SUPPORT OF COMPLAINT TO ARREST

                             Juan Francisco MALDONADO

        1.      I, Tim Spears am a Special Agent with the Drug Enforcement

Administration        (DEA) , and have been so employed since February of

1991.        As such, I am a law enforcement officer of the United States,

DEA, U.S. Department of Justice, within the meaning of Section 3052,

Title 18, United States Code, Section 3052, which includes being an

officer of the United States who is empowered by law to conduct

investigations and make arrests for offenses pursuant to Title 18,

United States Code, Section 3052.



        2.      I base this affidavit on my personal investigation, and

the investigation of other law enforcement agencies assisting in the

investigation        of    possession   of   methamphetamine     with    intent   to

distribute it, which occurred in the Northern District of Georgia on

August 15, 2009, all in violation of 21 U.S.C. § 841 (a) (1).



        3.     This affidavit is also based on information provided by

numerous        persons,    including   members   of   the   Pol k   County   Police

Department,        Georgia    Bureau    of   Investigation,     Cedartown     Police

Department and the Rome/Floyd Metro Task Force.                This affidavit is

being submitted in support of a criminal complaint charging Juan

Francisco MALDONADO with violating 21 U.S.C. § 841 (a)                (1).
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        4.      On August 15, 2009, a source of information re                          that

Juan Francisco MALDONADO was preparing to travel to a residence on

Collard Valley Road, in the                  , Georgia, area to            1 an ounce of

methamphetamine.             Based   on   this     information      surveil             was

initiated        on    the    residence          Juan     MALDONADO,     located   at     70

Tallapoosa Highway,            Cedartown,   Georgia,       30125.      At approximately

2010    hrs,     surveillance        observed     MALDONADO      leave   his   residence

driving a white Dodge Caravan with Georgia license                                 of BVP

6381.        MALDONADO drove from           residence to his mechanics shop that

is attached to the rear of Lankford Motor Company,                       601 South Main

Street, Cedartown, Georgia, arriving at approximately 2027



        5.     Approximately two minutes later surveillance units observed

MALDONADO return to the van and leave the shop. Surveillance was

maintained on MALDONADO until he drove out of Cedartown, Georgia,

east bound on State Highway 278,                   in the direction of Rockmart,

Georgia.



        6.     At approximately 2043               surveillance units followed as

MALDONADO turned North onto Substation Road in the direction of

Collard Valley Road and the                      , Georgia, area.



        7.     Based on the in              on received from the source and on

the     actions       of   MALDONADO                 by    law   enforcement,      it    was
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believed that MALDONADO was in possession of methamphetamine                   was

in route to a residence on Collard                 ley Road.   It was           re

decided to have MALDONADO stopped by a Polk County Police Department

patrol vehi



       8.    At approximately 2054 hrs, Sergeant John Boe of                  Polk

County Police Department observed               van driven by MALDONADO cross

over the center line as it was traveling east bound on Collard

Valley Road, Cedartown, Georgia, in violation of state of

traffic     laws.   Upon initiating the             fic stop on    the        cle,

Sergeant Boe approached the driver's s                 window and attempted to

talk to MALDONADO.       In response, MALDONADO attempted to speed away.

Sergeant Boe reached inside the vehicle and struggled with MALDONADO

until Se      ant Boe was able to grip the steering wheel and                 rect

the van         a drainage ditch on the              of the roadway.           the

vehicle was unable to continue,              MALDONADO was     removed from

vehicle and secured by Sergeant Boe.



       9.           MALDONADO was secured in           patrol vehicle, Sergeant

Boe observed a package of suspected methamphetamine on the driver'S

side floor            of the van and noti            the surveillance units

this   dis              The   package   of    su           methamphetamine     was

secured.
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        10.     The suspected methamphetamine was observed by me, and in

my training and experience, it appeared to be methamphetamine.                        The

suspected methamphetamine has been sent to the DEA laboratory for

confirmato           testing, but the results have not yet been re



        11.     On    April   6,   2010,    I       sed    MALDONADO,    who    was

custody,       of his Miranda rights,              he agreed to speak with me.

During        the     interview,      MALDONADO      admitted      to     possessing

methamphetamine with intent to dist                       it on August 15, 2009.



        12.      Based on the facts set                   above, there is probab

cause     to     believe      that   Juan       Francisco    MALDONADO     possess

methamphetamine, a Schedule II controlled substance, with the intent

to distribute           , in violation of 21 U.S.C. § 841          (A)   (1).
